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                                          EXHIBIT 21




    https://www.news-herald.com/news/family-wants-time-to-heal/article_e934f759-0173-5ab9-bb81-
    41e0ffb01e91.html

    Family wants time to heal
    Mark Tuscano Jan 20, 2007




    The family of Andrea Parhamovich, a Perry Township native killed in Iraq Wednesday, expressed
    overwhelming grief and deep sadness at their loss and asked for patience from the public as they
    deal with her death.

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     National and international attention has focused on Parhamovich, 28, and her family, friends,
     fiance and employer since her death.


     She died alongside three bodyguards of Croatian, Hungarian and Iraqi nationality, in an ambush
     attack by an al-Qaida linked coalition of Sunni insurgents in Yarmouk, reportedly an increasingly
     violent neighborhood in western Baghdad.


     Her brother-in-law Joe Zampini read from a prepared statement Friday at his brother's business,
     Lake County Nursery in Perry Township. Her parents and brothers did not attend the news
     conference, but her sister Marci Zampini watched unobtrusively as television news crews,
     reporters and photographers focused on Joe.


     "We wish to briefly share how wonderful and special a person Andi was," he said. "Andi was a
     confident, motivated, intelligent and loving young woman. She was a wonderful daughter,
     cherished sister, loving aunt and devoted friend who also put those around her first.


     "She embraced challenges which allowed her to achieve so much in a relatively short period of
     time. Andi always sought out great experiences that also allowed her to make a difference. It was
     that commitment to making a difference which led her to Iraq."


     Zampini and David Rolfes, an associate of Parhamovich's with National Democratic Institute


     of Washington, D.C., declined to respond to most media inquiries, saying family members had no


     real information to add to the statement and weren't likely to address the public again until
     sometime next week.


     Various reports about Parhamovich's life and tragic death were published Friday in papers across
     the nation.


     Zampini said Parhamovich was engaged to Newsweek reporter Michael Hastings, who worked at
     the publication's Baghdad bureau, and they planned to make arrangements sometime this winter
     to be married.




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     Hastings will accompany Parhamovich's body back to the United States when arrangements can be
     made through the U.S. military for her transport home from Baghdad.


     Although the couple rarely had the time or freedom to get together while in Baghdad, they were
     planning to spend Valentine's Day together in Paris, according to various reports.


     Hastings was planning to ask her to marry him at that time, he told the New York Times. He
     characterized Parhamovich as tough and brave, yet lovable and charming. She had dreams of
     working on a presidential campaign and possibly running for Congress.


     "She didn't agree with the war, but she felt that now that we're here, she wanted to do what she
     could to help the Iraqis. She wasn't afraid of taking risks," Hastings told the Associated Press.


     Zampini said Andi never spoke with family members of the details of the environment in which she
     worked while in Iraq.


     "She was really strong. I think she shielded us from that," he said.


     "Andi's desire to help strangers in such a dangerous environment thousands of miles away might
     be difficult for others to understand, but to us, it epitomized Andi's natural curiosity and
     unwavering commitment. She was passionate, bold and caring, as exemplified by her work to
     improve the lives of all Iraqis."


     "We also want to extend our own heartfelt condolences to the families of those who gave their
     lives while protecting Andi. They, too, are in our thoughts and prayers," Zampini said.


     U.S. Ambassador Zalmay Khalilzad condemned the attack.


     "The young American who was killed in this attack, along with her security team, exemplified a
     commitment by all those who have never wavered in their resolve to build a stable, united and
     democratic Iraq," he said in a statement.


     Parhamovich was a program officer with the National Democratic Institute, providing training
     programs in democracy to the emerging government. She was not a member of the military.


     A statement posted on an Islamic Web site Thursday claimed the attack destroyed two sport-utility
     vehicles of the Zionist Mossad and a third was severely damaged.

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     It was signed by a spokesman of the "Islamic state in Iraq," the so-called Islamic government
     claimed last year by al-Qaida and other Sunni Arab-linked groups.


     Mossad is the name given by al-Qaida to foreigners of unknown nationality and refers to the Israeli
     spy agency, wrote Maamoun Youssef, Associated Press writer in Cairo.


     Al Franken, who worked with Parhamovich at the liberal radio company Air America for about 18
     months, said he's devastated by her death.


     "She was a thoroughly charming intelligent, funny, idealistic, dedicated young woman," he said.


     "It was just great being in her presence because you felt like you were in the presence of a really
     good person, a real American. She was lovely in every way, just beautiful."


     Franken said Parhamovich was not the kind of person to criticize without doing something to help
     fix it.


     "She was against the war but nevertheless saw that what Iraq needs is the growth of democratic
     institutions," he said.


     Matthew Hiltzik, president of Freud Communications Inc. in New York, was Parhamovich's boss
     when she worked for film company Miramax about four years ago.


     The two remained close friends and later, she was supposed to help him start his company, but
     then he recommended she go to Air America.


     In Iraq, she wanted to work on spreading democracy there for about a year, then use that
     experience to perhaps work with a presidential candidate on foreign affairs, Hiltzik said.


     A run for Congress also was in her dreams, he said.


     Parhamovich, a liberal who had worked for a Republican Massachusetts governor, was an avid
     Cleveland Indians and Browns fan who had a fondness for the underdog.


     "She always felt for Marty Schottenheimer," Hiltzik said.


     She named the fantasy football team the two had after

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     the San Diego Chargers coach who is the most successful one never to have reached the Super
     Bowl.


     There have been no public services set at this time, but arrangements will be made through
     Johnson Funeral Home of Painesville.


     The Associated Press and New York Times contributed to this article.




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